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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,

                        Plaintiff,

v.
                                                     Civil Action No.:
SABRE CORPORATION,
SABRE GLBL INC.,
FARELOGIX, INC., and
SANDLER CAPITAL PARTNERS V, L.P.,

                        Defendants.


                                          COMPLAINT

        Sabre’s proposed acquisition of Farelogix is a dominant firm’s attempt to eliminate a

disruptive competitor after years of trying to stamp it out. Sabre, the largest global distribution

system in the United States, and Farelogix, an innovative technology firm, compete to provide

booking services to airlines. Sabre is the dominant provider of booking services in the United

States, and Farelogix represents a significant and growing threat to Sabre’s dominance.

Farelogix has spurred innovation and brought more competitive pricing to an industry that has

for decades been plagued by tepid competition and outdated technology. As Farelogix explains

on its website: “The airline industry is undergoing core disruption,” and “Farelogix and its

technology solutions are at the center of this disruption.” The proposed acquisition would wipe

out this competition and innovation, harming airlines and American travelers.
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                                     I.     INTRODUCTION

       1.      Airlines sell tickets to travelers directly through their websites and call centers

and indirectly through traditional brick-and-mortar and online travel agencies. Travel agencies

are a crucial distribution channel for airlines because many travelers, especially business

travelers, rely on travel agencies to book and manage their travel. Nearly 50 percent of airline

bookings in the United States are made through travel agencies. To sell tickets through travel

agencies, airlines require booking services. Booking services are IT solutions that enable airlines

to deliver their offers to travel agencies and to process resulting orders.

       2.      Historically, airlines have relied on booking services provided by Sabre and the

other two global distribution systems (“GDSs”) to sell their tickets through travel agencies in the

United States. Sabre’s GDS is a computerized system that helps travel suppliers, such as

airlines, market and distribute their fares and scheduling information to travel agencies and the

traveling public. Sabre and the other two GDSs have resisted innovation, while charging airlines

high booking fees for services that lack the functionality airlines and travelers demand. The

GDSs’ outdated technology has limited airlines’ ability to sell—and travelers’ ability to choose

from—airlines’ entire suite of offerings.

       3.      For well over a decade, the GDSs have thwarted attempts by new, innovative

competitors such as Farelogix to inject much-needed competition into this industry. As

Farelogix’s CEO told the European antitrust authorities in early 2018, the “GDSs continue to

leverage significant market power to preserve their market position and stifle innovation.”

       4.      Farelogix has emerged as an innovator that threatens to erode Sabre’s dominance

in booking services for air travel. Farelogix offers an alternative booking services solution, Open

Connect, that allows airlines to bypass the GDSs and connect directly to travel agencies. By



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offering airlines an alternative, Farelogix has given them leverage to negotiate lower GDS

booking fees and to reduce their reliance on the GDSs for booking services.

       5.      Farelogix has also pioneered a next-generation technology standard called “New

Distribution Capability,” or NDC. NDC technology, which powers Farelogix’s Open Connect, is

poised to transform airline distribution. Unlike the legacy GDS technology, NDC empowers

airlines to make a broader, more personalized range of offers to travelers booking through travel

agencies. For example, NDC could allow an airline to offer a traveler a bundled fare including

priority boarding, in-flight internet, and a morning snack for her weekly flight from Philadelphia

to Chicago.

       6.      Sabre has resisted innovation and opposed adoption of NDC. Sabre was so

threatened by NDC that in 2013 it urged the Department of Transportation to block approval of

the standard. Farelogix called out Sabre’s “ulterior motive” for opposing NDC, stating that

“today’s battle is one of old vs. new, with the dominant players in the old technology trying to

prevent, or at the very least delay, the implementation of the new standard in order to retain

artificial control of the distribution marketplace.” Sabre now claims to have accepted NDC, but

just last year Farelogix described to European antitrust authorities some of the tactics Sabre and

the other major GDSs have deployed in what Farelogix characterized as their “decade of

resistance” to innovation. These tactics include what Farelogix described as the GDSs’ strategy

to “Undermine and delay NDC even if embracing it on the surface.”

       7.      Recognizing the competitive threat posed by Farelogix, Sabre for years has tried

to box Farelogix out of the industry. According to its own internal documents, Sabre took steps

to “shut down” Farelogix after it began gaining customers. Farelogix itself has complained that

Sabre pressured airlines not to use Farelogix’s booking services and retaliated against airlines



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that did. Indeed, in 2018, Farelogix’s CEO told another potential purchaser of the company that

for Farelogix’s booking services solution, “the slow adoption was solely and inarguably due to

the blocking and pressure the GDSs put on Farelogix, airlines, and travel agents not to adopt.”

         8.    Additionally, Sabre’s and the other GDSs’ contracts with airlines and travel

agencies restrict airlines’ ability to avail themselves of cheaper, more advanced booking services

solutions. As recently as 2018, Farelogix denounced these restrictions, complaining that airlines’

GDS contracts “effectively prohibit working with third parties or make doing so cost

prohibitive.” In January 2019, a Sabre senior vice president acknowledged that airlines view

Sabre’s restrictions as “abusive but there’s nothing they can do because they need the

distribution and they are tied with a contract.”

         9.    Notwithstanding these tactics, Farelogix—thanks to its innovative technology and

competitive pricing—has managed to grow its booking services customer base from one airline

in the mid-2000s to over 15 today. As airlines and travel agencies continue to demand and adopt

its industry-leading NDC technology, Farelogix is a greater threat to Sabre than ever before.

         10.   Sabre now seeks to eliminate its disruptive competitor once and for all. Sabre

executives have acknowledged that acquiring Farelogix would eliminate a competitive threat and

allow Sabre to charge higher prices. In a presentation to Sabre’s CEO, Sabre executives

emphasized that buying Farelogix would “Mitigate risk from potential GDS bypass.” And on the

day Sabre announced its proposed acquisition of Farelogix, a Sabre sales executive texted a

colleague that one major U.S. airline would “hate” it. The colleague replied, “Why, because it

entrenches us more?” The Sabre sales executive responded that Farelogix has been that airline’s

“Trojan horse to f*** us” and observed that the airline’s “FLX [Farelogix] bill is going up big

time.”



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       11.       If allowed to proceed, Sabre’s acquisition of Farelogix would likely result in

increased prices, reduced quality, and less innovation for booking services, causing substantial

harm to airlines and American travelers.

       12.       The proposed transaction is likely to substantially lessen competition in violation

of Section 7 of the Clayton Act, 15 U.S.C. § 18. The Court, therefore, should enjoin this

transaction.

               II.   DEFENDANTS AND THE PROPOSED TRANSACTION

       13.       Sabre, a travel technology company based in Southlake, Texas, operates the

largest GDS in the United States. All major U.S. airlines distribute offers to travel agencies

through the Sabre GDS. Sabre’s 2018 revenues were approximately $3.9 billion. Sabre is the

ultimate parent entity of Sabre GLBL Inc., Sabre’s principal operating subsidiary and its

signatory to the merger agreement with Farelogix.

       14.       Farelogix, a travel technology company based in Miami, Florida, sells airlines a

next-generation booking services solution called Open Connect, as well as other IT solutions.

Open Connect provides low-cost booking services for airlines selling tickets through travel

agencies. Farelogix earned approximately $42 million in revenues in 2018. Farelogix is owned

by Sandler Capital Partners V, L.P. (“Sandler”), a private equity fund and a signatory to Sabre’s

merger agreement with Farelogix.

       15.       Sandler conducted a limited sale process in seeking a buyer for Farelogix. At

least one other potential buyer—not a competitor—was seriously interested and offered a

substantial price. But Sabre—a competitor—ultimately offered a higher price.

       16.       On November 14, 2018, Sabre agreed to acquire Farelogix in a transaction valued

at approximately $360 million.



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                           III.    JURISDICTION AND VENUE

        17.    The United States brings this action, and this Court has subject-matter

jurisdiction, under Section 15 of the Clayton Act, 15 U.S.C. § 25, to prevent and restrain

Defendants from violating Section 7 of the Clayton Act, 15 U.S.C. § 18.

        18.    Defendants are engaged in, and their activities substantially affect, interstate

commerce. Sabre and Farelogix both provide booking services to airlines that serve travelers

throughout the United States.

        19.    Venue is proper under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under

28 U.S.C. §§ 1391(b) and (c).

        20.    This Court has personal jurisdiction over each Defendant. Sabre, Sabre GLBL

Inc., and Farelogix are incorporated in the State of Delaware and are inhabitants of this District.

Sandler is a Delaware limited partnership and is an inhabitant of this District. Sabre, Farelogix,

and Sandler have consented to personal jurisdiction in this District for purposes of this lawsuit.

The proposed acquisition would have effects throughout the United States, including in this

District.

                            IV.    INDUSTRY BACKGROUND

        A.     Sabre Dominates Airline Bookings through Travel Agencies

        21.    For many airlines, travel agencies are an essential sales channel. Many travelers,

especially business travelers, book their flights through travel agencies because they have

specific needs or their employer requires them to do so. Sales to these travelers account for a

substantial portion of revenue for many airlines.

        22.    The GDSs—Sabre, Amadeus, and Travelport—operate computerized systems that

allow travel agencies to search for and book flights across multiple airlines. In response to a



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query from a travel agent, a GDS pulls fare and schedule information from multiple data sources

to construct an airline offer, consisting of a fare on a specific flight. The GDS then aggregates

offers from multiple airlines so that the travel agent can compare travel options and book the

traveler’s chosen itinerary. Thus, the GDSs provide three main functions: they help airlines

construct the initial offer (offer creation); they aggregate offers across multiple airlines (offer

aggregation); and they enable airlines to deliver their offers to travel agencies and to process

resulting orders (booking services). Farelogix and Sabre compete to provide booking services to

airlines.

          23.   Under the traditional GDS payment model, a GDS charges an airline a “booking

fee” for each flight segment a travel agency books through the GDS. The GDS then pays an

incentive to the travel agency as an inducement to book through the GDS.

          24.   Airlines sell tickets to travelers through two main types of travel agencies:

traditional travel agencies and online travel agencies. Traditional travel agencies consist of travel

management companies, which serve business travelers, and other brick-and-mortar travel

agencies, which serve a mix of travelers, including leisure travelers with complex travel

itineraries, such as tour groups. Traditional travel agencies are an important distribution channel

for airlines, representing approximately 25 percent of airlines’ bookings made in the United

States.

          25.   Business travelers book flights through travel management companies because

they provide the extensive customer support and reporting functionality that business travelers

typically require. Business travelers are the most profitable traveler segment for large, full-

service airlines. Business travelers are particularly lucrative customers because they tend to




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travel more often and spend more than leisure travelers on purchases such as last-minute flights,

refundable tickets, and premium seats.

       26.     Many traditional travel agencies use a single GDS to book air travel. Some use

more than one GDS, but will still use a single GDS to serve a particular corporate client.

Traditional travel agencies cannot readily switch between GDSs because of contractual and

technical restrictions. A traditional agency typically enters into a long-term contract with a GDS

that includes financial incentives committing the agency to book through that GDS and

penalizing the agency for shifting bookings to alternative channels. Some traditional agencies

also rely on other lines of Sabre’s business for IT products. For example, many travel

management companies in Sabre’s network use mid- or back-office software supplied by Sabre

to perform monitoring or reporting for their corporate clients. To ensure consistent support and

reporting for their travelers, corporations typically rely on only one travel management company.

Since traditional agencies cannot easily switch between GDSs, each GDS effectively controls

access to a distinct set of travelers. Thus, airlines must distribute through all three GDSs to reach

all travelers who book their travel through traditional travel agencies.

       27.     Sabre controls over 50 percent of bookings through traditional travel agencies in

the United States, so airlines must sell tickets through Sabre to reach a broad set of U.S.

travelers. Sabre has even greater control over airline bookings through travel management

companies in the United States. For instance, on August 1, 2019, Sabre reported to investors that

it has “over 80% share within large travel management companies” in North America.

       28.     The second type of travel agency, online travel agencies, primarily serves cost-

conscious leisure travelers. Leisure travelers book flights through online travel agencies like

Expedia or Priceline because they can comparison shop and book flights, hotels, and car rentals



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on the same website. Online travel agencies are an important distribution channel for airlines,

representing about 20 percent of airline bookings made in the United States. Sabre accounts for

approximately 50 percent of airlines’ online travel agency bookings in the United States. Thus,

airlines risk losing a significant amount of revenue if they forgo using the Sabre GDS to sell

tickets through online travel agencies in the United States.

       B.      Farelogix Is a Competitive Threat to Sabre

       29.     Over the years, a number of firms, such as ITA Software and G2 Switchworks,

have tried and failed to introduce viable alternatives to Sabre and the other GDSs. Farelogix has

succeeded where others have failed through persistence and a commitment to innovation. In

2005, Farelogix began working with American Airlines to develop a way to reach travel agencies

directly without going through a GDS. Farelogix’s “direct connect” solution (the forerunner to

Open Connect) gave American and other airlines a lower-cost way to sell tickets through travel

agents and avoid paying the GDSs’ high booking fees.

       30.     Farelogix has led the development of NDC, a next-generation data transmission

standard that facilitates advanced communications between airlines and travel agents. NDC

enables airlines to distribute more complex offers than the legacy GDS technology can support.

Consequently, NDC is widely expected to address many of the current limitations of airline

distribution, to the benefit of airlines, travel agents, and travelers. Farelogix’s Open Connect is

powered by NDC technology. Open Connect offers airlines an alternative to booking through a

GDS and greater ability to offer ancillary products and services, such as in-flight WiFi or lounge




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access, through travel agencies. Farelogix charges airlines a flat subscription fee and a small fee

for each booking enabled by Open Connect.

       31.     With NDC, the airline, rather than the GDS, controls the content of the airline’s

offers, and the airline selects the IT solution used for booking services. An airline can use a

booking services solution such as Farelogix’s Open Connect to reach a travel agency directly, or

it can distribute its offers through Open Connect to a third-party aggregator or a GDS to perform

the aggregation function for the travel agency.

       32.     For over a decade, Farelogix’s airline customers have successfully used the threat

of switching to Farelogix’s booking services solutions to negotiate better rates and terms with

Sabre and the other GDSs for bookings through both traditional and online travel agencies.

       C.      Sabre Has Impeded Farelogix’s Ability to Compete

       33.     Shortly after Farelogix began gaining airline customers, Sabre launched an

initiative to “shut down” Farelogix. Sabre took steps to prevent travel agencies from using

Farelogix’s solution in conjunction with Sabre’s GDS, pressured travel agencies not to use

Farelogix’s services, and retaliated against airlines that worked with Farelogix. For example, in

2011, Sabre retaliated against American Airlines for working with Farelogix by burying

American’s flight options in the search results it distributed to travel agencies to make them less

visible to travel agents. Farelogix accused Sabre of seeking to “punish” American for adopting

Farelogix’s technology.

       34.     Sabre has continued to use a broad range of contractual and technical barriers to

prevent entry or expansion by suppliers that could threaten its control over bookings through

travel agencies. For instance, Sabre’s contracts include provisions that inhibit airlines’ use of an

alternative supplier like Farelogix, even when doing so would be less expensive for airlines.



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Sabre’s contracts prevent airlines from offering special fares through cheaper distribution

channels (such as Farelogix’s Open Connect or an airline’s own website) and require airlines to

provide Sabre with the same content on as favorable terms as they provide the other GDSs.

Sabre’s contracts also restrict airlines from rewarding travel agencies for using alternative

distribution options, making it difficult for airlines to encourage travel agencies to use Farelogix.

Although these provisions limit airlines’ ability to shift bookings to alternative distribution

channels, many airlines accept them because Sabre controls access to a large number of travel

agencies, and those travel agencies’ customers are a critical source of the airlines’ revenues.

       35.     Sabre’s practices have hampered Farelogix’s growth, prompting Farelogix to

complain to the federal government in 2013 that “Sabre has wielded its monopoly power in an

attempt to destroy Farelogix and prevent competition . . . .”

       D.      Competition from Farelogix Has Loosened the GDSs’ Grip on Bookings
               through Online Travel Agencies

       36.     While Sabre’s practices have limited Farelogix’s ability to work with traditional

travel agencies, Farelogix has been more successful in gaining a foothold in bookings through

online travel agencies. Notably, two of the largest U.S. airlines use Farelogix to connect directly

to one of the largest online travel agencies in the United States. As Sabre acknowledged less

than a year ago, “Large OTAs [online travel agencies] are the most likely agency segment to

disintermediate our GDS.” Both Sabre and Farelogix expect that airlines will choose to use

Farelogix for bookings through other online travel agencies, including the largest in the United

States. According to one Sabre document, if this agency “strategically shifts volume out of the

GDS channel,” Sabre anticipates that “Other large OTAs [online travel agencies] will likely be

fast followers to this strategy and build out their own connections” to airlines.



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        37.     Having Farelogix as an alternative to the GDSs has given airlines leverage to chip

away at the traditional GDS payment model. Traditionally, GDSs charged airlines a fee for each

flight segment a traveler booked through an online travel agency, just as they do for a traditional

agency. Some airlines, however, have successfully used the threat of shifting bookings to

Farelogix to move the GDSs to a “wholesale” payment model for certain online travel agencies.

Under the wholesale approach, an airline does not pay the GDS a booking fee. Instead, the

airline compensates the online travel agency directly and the online travel agency pays a

technology fee to the GDS for each booking. This change, resulting from competition, has saved

at least one U.S. airline millions of dollars per year.

        E.      Competition from Farelogix Pushed Sabre to Update Its Own Booking
                Services Technology

        38.     Competition from Farelogix’s next-generation technology also has driven Sabre

to finally begin improving its own outdated technology. For years, Sabre and the other GDSs

vehemently opposed the transition to NDC. As airlines and travel agencies began demanding the

new capabilities pioneered by Farelogix, however, Sabre eventually started developing its own

NDC booking services technology.

        39.     In 2017, recognizing that Farelogix was the leader in NDC technology, Sabre

began developing a strategy to catch up. As airlines and travel agencies increasingly demanded

next-generation technology, Sabre recognized that Farelogix was among the “most relevant

threats” to its business. (Likewise, Farelogix identifies Sabre as one of its “key competitors” in

next-generation distribution.) Faced with this threat, Sabre developed its own plan to surpass

Farelogix’s next-generation distribution capabilities by 2020. Indeed, the Sabre vice president

leading the acquisition negotiations told Farelogix’s investment banker that if Farelogix declined

to sell itself to Sabre, Sabre would be “too far down the path in our own plan” and “then we

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[Sabre] will be a really tough competitor for them [Farelogix].” Today, Sabre bids on NDC

business in direct competition with Farelogix.

       F.      Farelogix Is Poised to Compete Even More Intensely with Sabre

       40.     In spite of Sabre’s efforts to hobble it, Farelogix has steadily built a sizeable base

of major airline customers, including some of the largest airlines in the United States. Farelogix

already processes more NDC transactions than any other airline technology company.

       41.     As the industry continues to shift to NDC, Farelogix is poised to grow

significantly. In April 2018, IATA, the airline industry trade association responsible for the

standardization of NDC, launched a “leaderboard” of airlines that have committed to making 20

percent of their bookings through an NDC-enabled connection by 2020. Nearly half of the

airlines on the leaderboard have chosen Farelogix’s Open Connect as their NDC booking

services solution. Farelogix and Sabre both project that Farelogix revenues will grow as the

adoption of NDC technology expands. Indeed, Sabre conservatively projected that airline tickets

booked using Farelogix’s technology will nearly triple between 2018 and 2020.

       42.     As demand for NDC grows, the industry is approaching a tipping point that

threatens Sabre’s business model. A Sabre document from late 2018 recognizes that airlines

view NDC as a “pivot point for model change, threatening the GDS.” In May 2019, Farelogix’s

CEO stated that NDC is “past the inflection point” and “it now just becomes kind of the downhill

slope of adoption.”

       43.     Sabre’s proposal to buy Farelogix threatens to forestall this evolution. Instead of

innovating to compete with Farelogix, Sabre has resorted to eliminating the competitive threat by

acquiring Farelogix.




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                                V.     RELEVANT MARKETS

       44.     If not enjoined, the proposed transaction would result in anticompetitive effects in

two relevant product markets: booking services for airline tickets sold through traditional travel

agencies and booking services for airline tickets sold through online travel agencies.

       A.      Product Markets

               1.      Booking Services for Airline Tickets Sold through Traditional Travel
                       Agencies

       45.     Booking services for airline tickets sold through traditional travel agencies is a

relevant product market. Traditional travel agencies are an important distribution channel for

airlines because they serve the most lucrative travel segment, corporate travelers. Most airlines

have no reasonable substitutes for the booking services that enable distribution through

traditional travel agencies because these agencies control access to the vast majority of corporate

travelers. Airlines and online travel agencies are not equipped to provide many of the services

required by customers of traditional agencies; thus, airlines generally would be unable to

convince these customers to book through alternate channels. A hypothetical monopolist likely

would impose at least a small but significant and non-transitory price increase on booking

services for airline tickets sold through traditional travel agencies. Accordingly, booking

services for airline tickets sold through traditional travel agencies constitutes a relevant product

market and line of commerce under Section 7 of the Clayton Act.

               2.      Booking Services for Airline Tickets Sold through Online Travel
                       Agencies

       46.     Booking services for airline tickets sold through online travel agencies is a

relevant product market. Online travel agencies are an important distribution channel for

airlines. Online travel agencies, such as Priceline and Expedia, cater primarily to cost-conscious



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leisure travelers. Distribution through online travel agencies represents about 20 percent of

airlines’ bookings in the United States. Airlines would be willing to pay more than they pay

today for booking services rather than lose the opportunity to sell tickets through online travel

agencies. A hypothetical monopolist likely would impose at least a small but significant and

non-transitory price increase on booking services for airline tickets sold through online travel

agencies. Accordingly, booking services for airline tickets sold through online travel agencies

constitutes a relevant product market and line of commerce under Section 7 of the Clayton Act.

       B.      Geographic Market

       47.     The geographic market is the United States. A hypothetical monopolist of

booking services for airline tickets sold through traditional travel agencies or online travel

agencies in the United States would impose at least a small but significant and non-transitory

increase in price for booking services. Accordingly, the markets for booking services for airline

tickets sold through traditional travel agencies in the United States and booking services for

airline tickets sold through online travel agencies in the United States are relevant markets.

       C.      The Acquisition Is Unlawful in Both Relevant Markets

       48.     The Supreme Court has held that mergers that significantly increase concentration

in already concentrated markets are presumptively anticompetitive and therefore presumptively

unlawful. To measure market concentration, courts often use the Herfindahl-Hirschman Index

(“HHI”). HHIs range from 0 in markets with no concentration to 10,000 in markets where one

firm has 100 percent market share. Courts have found that mergers that increase the HHI by

more than 200 and result in an HHI above 2,500 in any relevant market or line of commerce are

presumed to be anticompetitive.




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        49.     Sabre’s acquisition of Farelogix would significantly increase concentration in the

already highly concentrated market for booking services for airline tickets sold through online

travel agencies in the United States. The proposed acquisition would result in more than a 350-

point increase in HHI and a post-transaction HHI of more than 4,000 in this market. Thus, the

proposed acquisition is presumptively unlawful.

        50.     Sabre’s acquisition of Farelogix is also unlawful in the market for booking

services for airline tickets sold through traditional travel agencies in the United States. This

market is also highly concentrated today, with an HHI of over 3,500. While Farelogix’s current

share in this market is small, largely due to the GDSs’ efforts to freeze it out, Farelogix has been

a disruptive and uniquely important constraint on the GDSs in this market. As a result, the

elimination of Farelogix as an independent competitor in this highly concentrated market is also

likely to substantially lessen competition.

        51.     In both relevant markets, Farelogix’s market share substantially understates its

competitive significance in at least two respects. First, by offering airlines an alternative

booking services solution to the GDSs, Farelogix has empowered airlines to negotiate lower

prices and more favorable terms, even if the airline ultimately uses the GDS instead of Farelogix

for booking services. Farelogix’s competitive significance is therefore not fully reflected in its

current market share. Second, Farelogix’s current market share understates its competitive

significance going forward. As the industry transitions from legacy to NDC technology,

Farelogix is poised to grow significantly. Defendants’ internal projections reflect this. In short,

by eliminating a disruptive entrant with significant potential to grow and compete, the

acquisition would substantially lessen competition in both relevant markets, to the detriment of

airlines and travelers.



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VI.     THE PROPOSED ACQUISITION IS LIKELY TO SUBSTANTIALLY LESSEN
                  COMPETITION IN THE RELEVANT MARKETS

       A.      The Acquisition Would Eliminate Head-to-Head Competition between Sabre
               and Farelogix and Likely Lead to Higher Prices and Reduced Quality

       52.     Airlines have successfully used the threat of shifting bookings to Farelogix to

obtain better pricing in their GDS contracts on bookings made through traditional and online

travel agencies. As Sabre recognized in its 2018 Annual Report, the expansion of “direct connect

initiatives” (e.g., Farelogix) enables airlines “to apply pricing pressure on intermediaries [e.g.,

GDSs] and negotiate travel distribution arrangements that are less favorable to intermediaries.”

       53.     Senior executives of both Sabre and Farelogix have recognized that the

acquisition is likely to result in higher prices. Farelogix’s CFO highlighted in August 2018 that

if Sabre acquired Farelogix, it would be “taking out a strong competitor vs. continued

competition and price pressure in market.” He had previously noted that any GDS that acquired

Farelogix “would increase control over airlines who are now using FLX [Farelogix] as a

negotiation tool during contract renewals.” Similarly, a Sabre sales executive, in a text to a

colleague after this proposed acquisition was announced, observed that Farelogix’s prices for one

major U.S. airline would go up “big time” as a result of the deal.

       54.     The transaction will likely tighten Sabre’s grip on the online travel agency

market, where airlines have been most successful using competition from Farelogix to erode

Sabre’s market position. Farelogix has demonstrated that it is a credible alternative to Sabre by

enabling major U.S. airlines to connect directly with online travel agencies and helping change

the payment model in the online travel agency market. After acquiring Farelogix, Sabre’s

incentive to continue to offer these options on competitive prices and terms likely would be

diminished.



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        55.    U.S. full-service airlines are particularly likely to be harmed by the transaction.

Distribution through traditional and online travel agencies located in the United States represents

an especially significant portion of their revenue. These airlines’ booking services needs are

more complex than those of most other airlines that sell tickets in the United States due to their

extensive hub-and-spoke networks, the nature of their business models, and the volume of

transactions they process. In addition, these airlines cater to business travelers and hence are

especially dependent on distribution through traditional travel agencies. For these reasons, U.S.

full-service airlines face a different set of competitive constraints than other airlines. Because

Sabre controls most of these airlines’ bookings through U.S. travel agencies, Sabre has

significant leverage in negotiating with these airlines. By eliminating Farelogix, Sabre would

gain additional negotiating leverage and could target these customers for price increases.

        B.     The Acquisition Would Lessen Innovation

        56.    The proposed acquisition also would likely reduce innovation, to the detriment of

airlines, travel agencies, and travelers. Farelogix has been the driving force behind the industry’s

adoption of the NDC standard and the leader in developing new technology. With Farelogix’s

technology, airlines can make offers tailored to the needs of individual travelers booking through

a travel agency—functionality Sabre’s outdated GDS technology lacks.

        57.    Competition from Farelogix pushed Sabre to finally adopt NDC and develop

next-generation booking services solutions. After fighting against the adoption of NDC for

years, Sabre began investing in next-generation technology only after Farelogix began gaining

traction.

        58.    Competition between Farelogix and Sabre to develop and sell next-generation

booking services is already fierce. As the head of Sabre’s deal team warned Farelogix’s



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investment banker, if Sabre does not acquire Farelogix, Sabre would be “a really tough

competitor” to Farelogix. Indeed, if the acquisition is enjoined, Farelogix would continue to act

as a disruptor, developing new, innovative solutions in competition with Sabre. Farelogix has a

strong incentive to innovate in order to reap the gains of its innovation. In contrast, Sabre’s

incentive to innovate is tempered by the threat innovative solutions pose to its traditional

business model and aging technology. Without competition from an independent Farelogix,

Sabre’s incentive to invest and innovate in next-generation technology would be diminished.

           C.    No Countervailing Factors Would Prevent or Remedy the Acquisition’s
                 Likely Anticompetitive Effects

           59.   New entry or expansion by existing competitors is unlikely to prevent or remedy

the transaction’s likely anticompetitive effects in the relevant markets. There are high barriers to

building out a next-generation booking services solution comparable to Farelogix’s Open

Connect, including the difficulty and time required to integrate customized NDC connections

into complex, unique IT systems like those of Farelogix’s airline customers. Beyond these

technical impediments, the GDSs’ contracting practices—particularly provisions that inhibit

airlines’ use of alternative booking services providers—further heighten the barriers to entry.

Despite these significant barriers, Farelogix has persisted for over 15 years, investing more than

$100 million in developing its innovative solutions. Through these efforts, Farelogix has

emerged as a significant threat to Sabre. In-house airline solutions, sponsored entrants, and

alternative next-generation booking services providers are unlikely to replace the competitive

constraint posed by Farelogix in a timely and sufficient manner.

           60.   The proposed transaction will not result in verifiable, transaction-specific

efficiencies in the relevant markets sufficient to outweigh the transaction’s likely anticompetitive

effects.

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                                 VII.   VIOLATION ALLEGED

       61.      The United States alleges and incorporates paragraphs 1 through 60 as if set forth

fully herein.

       62.      Unless enjoined, Sabre’s proposed acquisition of Farelogix is likely to

substantially lessen competition in the relevant markets, in violation of Section 7 of the Clayton

Act, 15 U.S.C. § 18.

       63.      Among other things, the proposed acquisition would:

                (a)    eliminate present and future competition between Sabre and Farelogix;

                (b)    likely cause prices for booking services to be higher than they would be

                       otherwise; and

                (c)    likely reduce quality, service, choice, and innovation.

                                 VIII. REQUEST FOR RELIEF

       64.      The United States requests that the Court:

                (a)    adjudge Sabre’s acquisition of Farelogix to violate Section 7 of the

                       Clayton Act, 15 U.S.C. § 18;

                (b)    permanently enjoin Defendants from consummating Sabre’s proposed

                       acquisition of Farelogix or from entering into or carrying out any other

                       transaction by which control of the assets or businesses of Sabre and

                       Farelogix would be combined;

                (c)    award the United States its costs of this action; and

                (d)    grant the United States such other relief as the Court deems just and

                       proper.




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Dated this 20th day ofAugust, 2019.

Respectfully submitted,


FOR                                       OFAMERICA:




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